Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                   Page:1 of 33


                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF GEORGIA

  In re:                                          )
                                                  )          Chapter 11
  SEA ISLAND COMPANY, et al.,                     )
                                                  )          Case No. 10-21034 - JSD
                                                  )          Jointly Administered
                   Debtors,                       )
                                                  )
                                                  )
                                                  )          Contested Matter
  SEA ISLAND ACQUISITION, LLC,                    )
                                                  )
                   Movant,                        )
                                                  )
  vs.                                             )
                                                  )          Judge John S. Dalis
  ROBERT H. BARNETT, Liquidation Trustee          )
  under the Sea Island Liquidation Trust,         )
                                                  )
                   Respondent,                    )
                                                  )
  and                                             )
                                                  )
  KINGS POINT PROPERTY OWNERS                     )
  ASSOCIATION, INC.                               )
                                                  )
                   Intervenor.                    )

   REPLY IN SUPPORT OF THE LIQUIDATION TRUSTEE’S MOTION REGARDING
  THE SUFFICIENCY OF KINGS POINT PROPERTY OWNERS ASSOCIATION, INC.’S
    RESPONSE TO THE LIQUIDATION TRUSTEE’S FIRST SET OF REQUEST FOR
          ADMISSIONS, TO EXTEND THE DISCOVERY AND SUMMARY
     JUDGMENT DEADLINES, AND IN THE ALTERNATIVE FOR AN EXPEDITED
                               HEARING

           Robert H. Barnett as the Liquidation Trustee (the “Liquidation Trustee”) under the Sea

  Island Company Liquidation Trust files this reply in support of the Liquidation Trustee’s Motion

  Regarding the Sufficiency of Kings Point Property Owners Association, Inc.’s Response to the

  Liquidation Trustee’s First Set of Request for Admissions, to Extend the Discovery and




  {4592/011/01360817.DOCXv2}                     1
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                      Page:2 of 33


  Summary Judgment Deadlines, and in the Alternative for an Expedited Hearing (Bankr. Docket

  Entry No. 1368) (the “Motion”) and shows the Court the following:

                                           INTRODUCTION

         Even though the Liquidation Trustee made extensive good faith efforts to reduce the

  burden on Kings Point Property Owners Association, Inc. (“Kings Point POA”) in responding to

  the requests to admit, Kings Point POA has not taken the most basic steps to respond to the

  requests to admit.

         As to conducting third party diligence, Kings Point POA ignores Rule 36 entirely and

  instead relies upon the concept of “control” even though that word cannot be found anywhere in

  Rule 36. Not surprisingly, upon a closer look, none of the cases Kings Point POA cites actually

  support its argument. And many of them actually undercut its argument. As a practical matter,

  given that the parties made it clear on the record that they have worked together in the contested

  matter, it is not unreasonable for Kings Point POA to, among other things, reach out to Sea

  Island Acquisition LLC (“SIA LLC”), its predecessor in interest with respect to the common

  areas, in an attempt to get to the bottom of the matters in question. If it is not in a position to

  admit or deny some of the requests, it should state “in detail” what efforts it undertook to

  conduct its “reasonable inquiry.” Such an approach is certainly more efficient than the parties

  taking depositions around the country.

         As to application of law to fact, Kings Point POA fails to respond to any of the cases the

  Liquidation Trustee cites. And it only cites one case involving Rule 36. That case relies on a

  non-Rule 36 case to support its reasoning. On a more practical level, Kings Point POA’s failure

  to admit or deny such requests is not only inconsistent with Rule 36 it will also make the

  resolution of the contested matter more time consuming for the Court and the parties.



  {4592/011/01360817.DOCXv2}                      2
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                    Page:3 of 33


         For these reasons, the Liquidation Trustee requests that the Court enter an order granting

  the Motion.

  I.     The Liquidation Trustee Made Extensive Good Faith Efforts to Reduce the Burden on
         Kings Point POA.

         While Kings Point POA maintains that the Liquidation Trustee’s legal position is based

  on a “selective and inaccurate reading of Rule 36,” see Bankr. Docket Entry No. 1378 at 5 of 19,

  it does not question that he has in fact made extensive good faith efforts to reduce the burden on

  Kings Point POA to respond to the requests for admissions, see Bankr. Docket Entry No. 1378

  (not questioning). Indeed, the Liquidation Trustee took the following steps to reduce the amount

  of effort that Kings Point POA would need to respond to the requests to admit:

                 a.      Although it is undisputed that the Liquidation Trustee was not required to

         do so, compare Bankr. Docket Entry No. 1368 at n. 8 (citing Sparton Corp. v. United

         States, 77 Fed. Cl. 10, 20 (2007) (“Rule 36 does not require that the source of the data in

         a request to admit be designated.”) (emphasis added) (citation omitted) with Bankr.

         Docket Entry No. 1378 (not disputing), for most of the requests for admission, he

         provided a citation to the source of the data upon which the request for admission is

         based, see, e.g., Bankr. Docket Entry No. 1368-1 at 2 of 61 (citing the Sales Procedures

         Motion and Goldman Fee Order in connection with request to admit that Goldman, Sachs

         & Co. “was the investment banker for the sale of substantially all of the assets of the

         Debtors.”)

                 b.      Counsel for the Liquidation Trustee did not serve interrogatories with the

         requests for admission even though it is standard practice to do so.




  {4592/011/01360817.DOCXv2}                      3
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                         Page:4 of 33


                 c.      In an attempt to resolve the differences between the parties, counsel for

         the Liquidation Trustee had various phone calls and a lengthy in person meeting with

         counsel for Kings Point POA.

                 d.      On July 31, 2015, counsel for the Liquidation Trustee sent a letter to

         counsel for the Liquidation Trustee in attempt to resolve the dispute over the requests for

         admissions.

                         1.      For every contested “third party diligence” request for admission,

                 the letter sets forth the source of the information upon which the request is based.

                 Compare Bankr. Docket Entry No. 1368 at 23-25 of 45 with Bankr. Docket Entry

                 No. 1378 at 11-12 of 19 (acknowledging information provided in good faith

                 letter). The letter further sets forth a great deal of the “third party diligence” legal

                 authority that is in the Motion. Compare Bankr. Docket Entry No. 1368 at 21-25

                 of 45 (portion of letter setting forth “third party inquiry” authority) with Bankr.

                 Docket Entry No. 1368 at 7-14 of 45 (portion of motion setting forth “third party

                 inquiry” authority).

                         2.      For every contested “application of law to facts” request for

                 admission, the letter sets forth how the law applies to the facts. See Bankr.

                 Docket Entry No. 1368 at 42-44 of 45. The letter further sets forth a great deal of

                 the “application of law to facts” legal authority that is in the Motion. Compare

                 Bankr. Docket Entry No. 1368 at 41-45 of 45 (portion of letter setting forth

                 “application of law to facts” legal authority) with Bankr. Docket Entry No. 1368

                 at 14-17 of 45 (portion of motion setting forth “application of law to facts” legal

                 authority).



  {4592/011/01360817.DOCXv2}                        4
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                    Page:5 of 33


                          3.     As part of such letter, counsel for the Liquidation Trustee further

                 offered to “assist” counsel for Kings Point POA if they had “any questions about

                 where to find” the relevant information. See Bankr. Docket Entry No. 1368 at 25

                 of 45.

                 e.       As Kings Point POA acknowledges, the Motion contains a “table” that the

         Liquidation Trustee “created which cross references each [request for admission] at issue

         with a ‘Base (sic.) of Information.’” Compare Bankr. Docket Entry No. 1378 at 11-12 of

         19 with Bankr. Docket Entry No. 1368 at 12-14 of 45. And in the “Bases of Information”

         column, the Liquidation Trustee not only cites the source document but—in almost all

         instances—the specific page, paragraph, or section number to which Kings Point POA

         should refer. See Bankr. Docket Entry No. 1368 at 12-14 of 45.

  II.    Kings Point POA Has Not Stated “in Detail” the Efforts It Took to Conduct Its
         “Reasonable Inquiry” under Rule 36(a)(4).

         While Kings Point POA contends that the Liquidation Trustee’s “position relies on a

  selective and inaccurate reading of Rule 36,” see Bankr. Docket Entry No. 1378 at 5 of 19, Kings

  Point POA neither cites any case law to support its position nor attempts to distinguish the cases

  the Liquidation Trustee cites on pages 7 and 8 in support of his position that Kings Point POA is

  required to state “in detail” the efforts it took to conduct its “reasonable inquiry” under Rule

  36(a)(4), compare Bankr. Docket Entry No. 1368 at 7-8 of 45 with Bankr. Docket Entry No.

  1378 at 5 of 19. Kings Point POA’s statement that it has “investigated amongst its officers,

  agents, and persons and parties over which it has control” is conclusory and insufficient because

  it does not “state specifically what efforts have been made.” See Al-Jundi v. Rockefeller, 91

  F.R.D. 590, 594 (W.D.N.Y. 1981) (emphasis added). And it does not state “why reasonable

  efforts would be unavailing to obtain the requisite information.” See id. Indeed, Kings Point

  {4592/011/01360817.DOCXv2}                      5
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                      Page:6 of 33


  POA’s speculation that, “[e]ven after conducting third party due diligence,” it “would still not be

  in a position to admit or deny the underlying truth of the matters asserted in each request”

  highlights that Kings Point POA fails to state “why reasonable efforts would be unavailing.” Al-

  Jundi, 91 F.R.D. at 594 (emphasis added). So at the very least, Kings Point POA should set forth

  “in detail” what it has done to conduct its “reasonable inquiry” under Rule 36(a)(4).

  III.   Kings Point POA Has Not Taken Even the Most Basic Steps to Respond to the Requests
         for Admission.

         While Kings Point POA may believe in good faith that its responses are legally sufficient,

  it does not appear that it has taken even the most basic steps to respond to the requests for

  admission even if one puts aside Kings Point POA’s obligation to inquire of SIA LLC. For one

  thing, Kings Point POA never took the Liquidation Trustee up on his offer to assist it in locating

  information. See Bankr. Docket Entry No. 1378 at 11-12 of 19. On top of that, here are three

  representative examples of basic diligence that Kings Point POA has apparently not undertaken:

                 a.      Review paragraph 14 of the Bansmer Declaration and page 34 of the

         Goldman Fee Order. RFA No. 19 requests Kings Point POA to “[a]dmit that Sachs &

         Co. (“Goldman Sachs”) was the investment banker for the sale of substantially all of the

         assets of Debtors” and cites both the Bansmer Declaration 1 and the Goldman Fee Order.

         See Bankr. Docket Entry No. 1368-1 at 2 of 61. And as set forth in the Motion, see

         Bankr. Docket Entry No. 1368-1 at 2 of 61, paragraph 14 of the Bansmer Declaration

         states the following: “The Debtors retained Goldman Sacahs & Co. (“Goldman Sachs”)

         as their investment banker to market their assets,” Bansmer Decl. at ¶ 14. As further set

         forth in the Motion, see Bankr. Docket Entry No. 1368-1 at 2 of 61, in the Goldman Fee



  1
   Capitalized but undefined terms shall have the meaning ascribed to them in the Plan (as defined
  herein).
  {4592/011/01360817.DOCXv2}                      6
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                    Page:7 of 33


         Order, the Court approved the fees of Goldman Sachs in an amount over $6 million, see

         Goldman Fee Order at 34. It is hard to understand why Kings Point POA has not

         unconditionally admitted the request given that it is represented by sophisticated

         bankruptcy counsel who understands the sales process associated with large bankruptcy

         estates and the retention and compensation of professionals. See W. Alton Jones Found.

         V. Chevron U.S.A., Inc. (In re Gulf Oil/Cities Serv. Tender Offer Litig.), No. 82 Civ.

         5253, 1990 WL 657537, at *5 (S.D.N.Y. May 2, 1990) (“If the information is readily

         obtainable from a non-party and is not in genuine dispute, then the policies underlying

         Rule 36 dictate that a litigant be compelled to inquire of the non-party and provide a

         response.”) (emphasis added). Of course, it is possible that Kings Point POA may have

         some unarticulated reason that it cannot completely admit the request. But even then, it

         is obligated to do more than state that it “lacks sufficient information or knowledge to

         admit or deny this request.” For instance, given that the Court approved the fees of

         Goldman Sachs after a protracted contested matter, there should be at least part of the

         request Kings Point POA should in good faith admit. See Fed. R. Civ. P. 36 (“[W]hen

         good faith requires that a party qualify an answer or deny only part of a matter, the

         answer must specify the part admitted and qualify or deny the rest.”); Xcel Energy, Inc. v.

         United States, 237 F.R.D. 416, 422 (D. Minn. 2006) (“Legal jousting, and advocacy, play

         such a predominate role in crafting Interrogatories, and their Answers, that it should not

         be allowed to infect the laudable purposes of Rule 36 in emanating issues for which proof

         is not required, and in narrowing the issues where proof is required.”).

                 b.      Review Paragraph 18 of the Hofmann Declaration and the SIC Counsel

         Notice of Appearance. RFA No. 34 requests Kings Point POA to “[a]dmit that, at all



  {4592/011/01360817.DOCXv2}                      7
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                     Page:8 of 33


         relevant times, SIA LLC was represented by Debevoise & Plimpton, LLP

         (“Debevoise”).” See Bankr. Docket Entry No. 1368-1 at 21 of 61. In the Liquidation

         Trustee’s good faith letter, he cites both paragraph 18 of the Hofmann Declaration and

         the SIC Counsel Notice of Appearance in the “Bases for Information” column for this

         request to admit. See Bankr. Docket Entry No. 1368-1 at 12 of 61. Hofmann states

         under penalty of perjury in paragraph 18 of his declaration that SIA LLC “retained

         Debevoise & Plimpton, LLP (“Debevoise”) as counsel to advise it in connection with the

         sale process and to coordinate the review of over 1,250 documents in the electronic data

         room.” See Hofmann Decl. at ¶ 18. And on the second day of these cases, a notice of

         appearance was filed with Debevoise listed as counsel for SIA LLC. See Bankr. Docket

         Entry No. 43; see also Fed. R. Bankr. P. 9010(b). In addition, on September 8, 2015,

         Debevoise and Hunter Maclean Exley & Dunn LLP, co-counsel for SIA LLC, filed a

         memorandum in support of its requested $6 million break up fee. See Bankr. Docket

         Entry No. 154. Based on the review of the foregoing alone, Kings Point POA should

         admit the request. See W. Alton Jones Found. at *5 (“If the information is readily

         obtainable from a non-party and is not in genuine dispute, then the policies underlying

         Rule 36 dictate that a litigant be compelled to inquire of the non-party and provide a

         response.”). But at the very least, it does not appear that it has any good faith reason not

         to know—or for that matter admit—that Debevoise was bankruptcy counsel of record for

         SIA LLC from the second day of these cases through the sale of substantially all of the

         Debtors’ assets. 2 See Fed. R. Civ. P. 36 (“[W]hen good faith requires that a party qualify

         an answer or deny only part of a matter, the answer must specify the part admitted and


  2Indeed, given that the notice of appearance has not been withdrawn, Debevoise is still counsel
  of record for SIA LLC.
  {4592/011/01360817.DOCXv2}                      8
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                     Page:9 of 33


         qualify or deny the rest.”); Xcel Energy, Inc. at 422 (“Legal jousting, and advocacy, play

         such a predominate role in crafting Interrogatories, and their Answers, that it should not

         be allowed to infect the laudable purposes of Rule 36 in emanating issues for which proof

         is not required, and in narrowing the issues where proof is required.”)

                 c.      Review Footnote One of the Goldman Fee Order and Confer with its

         Counsel. RFA No. 67 requests Kings Point POA to “admit that the total aggregate

         consideration under the Asset Purchase Agreement was $343,259,519.00, consisting of

         the following: the cash purchase price of $210,723,720.00, cash at closing of

         $5,100,1546.31, and assumed membership deposits of $127,435,643.00” and cites

         footnote one of the Goldman Fee Order. See Bankr. Docket Entry No. 1368-1 at 44 of

         61. In that footnote, the Court made a fact finding that is an almost verbatim statement of

         the total aggregate consideration set forth in the request. See Goldman Fee Order at n.1.

         And at the hearing on Kings Point POA’s standing, counsel of record for Kings Point

         POA stated that SIA LLC “ought to get the benefit of the bargain” given that it “spent

         hundreds of millions of dollars, a couple of hundred million dollars in purchase price and

         at least a couple hundred more in assumption of liabilities.” See Tr. Kings Point POA

         Standing Hr’g 23:22-24:3; Martinez v. Bally’s Louisiana, Inc., 244 F.3d 474, 476 (5th Cir.

         2001) (statement of counsel during trial may either be a judicial or evidentiary admission

         depending on the circumstances). Based on the review of the foregoing alone, Kings

         Point POA should admit the request.          See W. Alton Jones Found. at *5 (“If the

         information is readily obtainable from a non-party and is not in genuine dispute, then the

         policies underlying Rule 36 dictate that a litigant be compelled to inquire of the non-party

         and provide a response.”). In the alternative, at the very least, it should be willing to



  {4592/011/01360817.DOCXv2}                      9
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                     Page:10 of
                                      33

        admit what its counsel told the Court. 3 See Fed. R. Civ. P. 36 (“[W]hen good faith

        requires that a party qualify an answer or deny only part of a matter, the answer must

        specify the part admitted and qualify or deny the rest.”); Xcel Energy at 422 (“Legal

        jousting, and advocacy, play such a predominate role in crafting Interrogatories, and their

        Answers, that it should not be allowed to infect the laudable purposes of Rule 36 in

        emanating issues for which proof is not required, and in narrowing the issues where proof

        is required.”).

 IV.    Kings Point POA Is Obligated to Conduct Third Party Diligence.

        It is undisputed that there is nothing in the plain language of Rule 36 absolving parties of

 having to conduct “reasonable inquiry” through third party diligence. Compare Bankr. Docket

 Entry No. 1368 at 9 of 45 (citing Bus. Guides, Inc. v. Chromatic Commc’ns Enters., Inc., 498

 U.S. 533, 540-41 (1991) (interpreting the Federal Rules of Civil Procedure like a statute and

 stating, “we give the Federal Rules of Civil Procedure their plain meaning.”) with Bankr. Docket

 Entry No. 1378 at 6-13 of 19. Indeed, it is telling that Kings Point POA ignores the language of

 Rule 36 entirely and instead argues that the relevant standard is “control.” See Bankr. Docket

 Entry No. 1378 at 6-8 of 19. But Kings Point POA’s argument fails because it is not based on

 the plain language of Rule 36. See Bus. Guides at 540-41 (Interpreting the Federal Rules of Civil

 Procedure like a statute and stating, “we give the Federal Rules of Civil Procedure their plain

 meaning.”).



 3It is not the intention of the Liquidation Trustee to play gotcha. Every lawyer now and then
 makes a misstatement that they later regret. But given the extent to which Kings Point POA
 relies upon the asset purchase agreement and the circumstances of these cases generally, it does
 not appear that this was one of those instances. See Bankr. Docket Entry No. 1161 at n.4
 (discussing in detail the “main theme permeating the Debtors’ reorganization efforts”) & ¶ 25
 (relying on the definition of “Purchased Assets” from section 2.1 of the asset purchase agreement
 to argue that the “Common Areas” should be transferred to SIA LLC).
 {4592/011/01360817.DOCXv2}                     10
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                      Page:11 of
                                      33

        And Kings Point POA is wrong when it argues on page 6 of its opposition that the case

 law the Liquidation Trustee cites “directly contradicts” the Liquidation Trustee’s position that

 “nothing in Rule 36 absolves a party from making ‘reasonable inquiry’ through third parties.”

 To support its argument, Kings Point POA cites A. Farber & Partners, Inc. v. Garber, 237

 F.R.D. 250 (C.D. Cal. 2006) and includes the following quotation: “Rule 36 requires the

 responding party to make a reasonable inquiry, a reasonable effort, to secure information that is

 readily obtainable from persons and documents within the responding party’s relative

 control and to state fully those efforts.” See Bankr. Docket Entry No. 1378 at 6 of 19 (emphasis

 supplied by Kings Point POA).

        But Kings Point POA neglects to note that only two sentences later in the same block

 quotation from Henry v. Champlain Enter. Inc., 212 F.R.D. 75 (N.D.N.Y. 2003) it states the

 following:

                The inquiry may require venturing beyond the parties to the
                litigation and include, under certain circumstances, non-parties . . ..
                The operative words then are “reasonable” and “due diligence.”

 237 F.R.D. at 254 (emphasis added). And Kings Point POA neglects to note the very sentence

 after the quotation above is a lengthy quotation from Uniden Am. Corp. v Ericsson, 181 F.R.D.

 302 (M.D.N.C. 1998) found on page 10 of the Liquidation Trustee’s brief and which Kings Point

 POA spends almost the entire first section of its brief arguing that the standard from such

 quotation does not apply. See, e.g., Bankr. Docket Entry No. 1378 at 6-9 of 19. Indeed, the

 court in A. Farber not only quotes Uniden, but goes one step further by adding the following

 introductory phrase “[a]t a minimum.” 237 F.R.D. at 254. Accordingly, the court in A. Farber

 made it clear that the obligation to conduct third party inquiry—when the criteria from Uniden

 are satisfied—is a minimum obligation placed upon a party responding to a request to admit.



 {4592/011/01360817.DOCXv2}                       11
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                     Page:12 of
                                      33

        Similarly, the cases upon which Kings Point POA relies on pages 7 and 8 of its

 opposition to support its “control” arguments are unavailing. For the convenience of the Court,

 such decisions are addressed in the same order as they are cited on pages 7 and 8 of Kings Point

 POA’s opposition.

 U.S. ex rel. Englund v. Los Angeles Cnty., 235 F.R.D. 675 (E.D. Ca. 2006)

 Kings Point POA includes quotes U.S. ex rel. Englund as follows:

                Reasonable inquiry is limited to persons and documents within the
                responding party’s control (e.g., its employees, partners, corporate
                affiliates, etc.) It does not require the responding party to
                interview or subpoena records from independent third parties in
                order to admit or deny a Request for admission.

 Bankr. Docket Entry No. 1378 at 7 of 19. The court in U.S. ex rel. Englund cites page 43 of T.

 Rowe Price Small Cap Fund, Inc. v. Oppenheimer & Co., Inc., 174 F.R.D. 38 (S.D.N.Y. 1997) in

 support of those two sentences. But as discussed below, T. Rowe Price undercuts—and does not

 advance—Kings Point POA’s argument. And Kings Point POA also quotes U.S. ex rel. Englund

 as follows: “Because request for admissions can have dire consequences, the responding party’s

 duty to obtain information is no broader than that owed in responding to interrogatories; i.e.,

 generally limited to obtaining information from persons and entities over which it has actual

 control.” Bankr. Docket Entry No. 1378 at 7-8 of 19 (emphasis added). But such quotation does

 not advance Kings Point POA’s argument for three reasons.            First, the use of the word

 “generally” makes it clear that the Eastern District of California was not making a one-size-fits-

 all pronouncement. Second, the statement was dicta; the issue of third party diligence was not

 relevant to the discussion of the “requests at issue.” See 235 F.R.D. 675, 685-91. Third, the court

 cites no authority for its statement.




 {4592/011/01360817.DOCXv2}                      12
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                      Page:13 of
                                      33

 T. Rowe Price Small Cap Fund, Inc. v. Oppenheimer & Co., Inc., 174 F.R.D. 38 (S.D.N.Y.
 1997)

 Kings Point POA quotes T. Rowe Price as follows:

                Generally, “reasonable inquiry,” for purposes of responding to
                requests for admission, is limited to review and inquiry of those
                persons and documents that are within responding party’s control.

 Bankr. Docket Entry No. 1378 at 7 of 19 (emphasis added). But it is clear even from the quoted

 language that the statement only “generally” applies. And Kings Point POA overlooks the fact

 that the court in T. Rowe Price acknowledges that “under certain circumstances, parties may be

 required to inquire of third parties in order to properly respond to requests to admit.” See 174

 F.R.D. 38, 43 (emphasis added). The court gives two examples where third party inquiry is

 required by citing two decisions in support of its “see, e.g.,” citation. First, it cites In re Gulf

 Oil/Cities Serv. Tender Oil Litig., Nos. 82 Civ. 5253, 87 Civ. 8982 (MBM), 1990 WL 657537

 (S.D.N.Y. May 2, 1990) 4 and summarizes Gulf Oil in a parenthetical quotation as follows: a

 party “must consult non-parties’ counsel to confirm data derived from figures in documents

 produced by non-party, where [the party] and non-party have parallel interests and have been

 closely cooperating in conducting discovery in two relates cases.” See 1990 WL 657537 at 43

 (emphasis added). Second, it cites and summarizes Al-Jundi in a parenthetical quotation as

 follows: “[W]here, without extraordinary expense or effort, defendant may be able to respond

 based upon information secured from co-defendants and their counsel, such efforts must be

 made.” Id. (emphasis added). And the facts in T. Rowe Price are completely different than they

 are here given that the responding party in that case would have had to subpoena the Federal

 Deposit Insurance Corporation in another city (Chicago), potentially litigate a challenge to the



 4The Liquidation Trustee cites Gulf Oil on, among other places, page 11 of the Motion. See
 Bankr. Docket Entry No. 1368 at 11 of 45.
 {4592/011/01360817.DOCXv2}                      13
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                    Page:14 of
                                      33

 subpoena, travel to Chicago to review “large volumes of documents,” and pay for the expense of

 the production. See id. at 44.

 Bouchard v. United States, 241 F.R.D. 72 (D. Me. 2007)

 Kings Point POA quotes Bouchard as follows:

                The obligation to undertake a reasonable inquiry requires the
                respondent to make a reasonable inquiry, a reasonable effort, to
                secure information that is readily obtainable from persons and
                documents within the responding party’s relative control.

 Bankr. Docket Entry No. 1378 at 7 of 19 (emphasis added). Bouchard does not, however,

 advance Kings Point POA’s “control” argument. As an initial matter, the issue of whether a

 party has to make a third party inquiry when it does not have control of either the documents or

 the people in question—which is the issue Kings Point POA contends is before the Court—does

 not apply in Bouchard because the documents in question were in the party’s control. See 241

 F.R.D. 72, 76. So any statements from Bouchard are dicta. But the dicta in Bouchard refutes—

 and does not support— Kings Point POA’s position. The court in Bouchard makes the following

 clear: (i) “a respondent is required ‘to ascertain the truth if the ability to do so is reasonably

 within his power,’” and (ii) “if the accuracy of the documents subject to a Rule 36 request can be

 determined ‘from reliable sources without imposing undue hardship,’ the respondent is obligated

 to respond.” See 241 F.R.D. 72 at 76 (emphasis added).

 Tequila Centinela, S.A. de C.V. v. Bacardi & Co., 242 F.R.D. 1 (2007)

 Kings Point POA quotes Tequila Centinela out of context.           In that case, the court was

 considering a different issue. The responding party stated in its supplement responses that it was

 “without sufficient knowledge to admit or deny,” but failed to comply with Rule 36(a) of the

 Federal Rules of Civil Procedure because it did not state, among other things, that it had

 conducted a “reasonable inquiry.” See 242 F.R.D. 1at 14. Given that the responding party failed

 {4592/011/01360817.DOCXv2}                     14
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                    Page:15 of
                                      33

 to comply with Rule 36(a) of the Federal Rules of Civil Procedure, the court directed it to serve

 amended responses.

 Searock v. Stripling, 736 F.2d 650 (11th Cir. 1984)

 Citing Searock, Kings Point POA argues that “‘control’ . . . is a term of art and has been clearly

 and consistently defined by federal courts as the legal right to obtain the documents requested

 upon demand.” Bankr. Docket Entry No. 1378 at 7 of 19 (emphasis added). But as such

 quotation suggests and the preceding sentence—“Under Fed. R. Civ. P. 34, control is the test

 with regard to the production of documents,” 736 F.2d 650, 653 (emphasis added)—makes it

 crystal clear Kings Point POA is conflating “control” as it applies to document production under

 Rule 34 of Federal Rules of Civil Procedure—which explicitly refers to “control” 5—with

 responding to requests for admission under Rule 36 of the Federal Rules of Civil Procedure—

 which does not refer to “control.” 6

 V.     The Uniden Criteria Have Been Satisfied.

        Contrary to Kings Point POA’s allegation on page 9 of its opposition, the Liquidation

 Trustee has done much “more than make unsupported, conclusory allegations that the criteria set

 forth in Uniden” are satisfied as to the relationship between Kings Point POA and SIA LLC. As

 an initial matter, however, it is important to note that the burden of persuasion falls on Kings

 Point POA to prove that the Uniden criteria are not satisfied rather than falling on the

 Liquidation Trustee to prove that they are satisfied. See Solis v. La Familia Corp., No. 10-2400-

 EFM-GLF, 2012 WL 1906508, at *2 (D. Kan. 2012).           Here, however, such criteria are easily

 satisfied. In Uniden, the court only required that there be “some identify of interest manifested”



 5 See Fed. R. Civ. P. 34 (a)(1) (party must produce documents in the party’s “possession, custody,
 or control”).
 6 See Fed. R. Civ. P. 36.


 {4592/011/01360817.DOCXv2}                     15
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                        Page:16 of
                                      33

 and “no manifest or potential conflict” between the parties.          See 181 F.R.D. 302, 304-05

 (emphasis added). Such “identity of interest” can be demonstrated by, among other things,

 showing any one of the following: (i) “both being parties to the litigation;” (ii) “a present or prior

 relationship of mutual concerns;” or (iii) “active cooperation in the litigation.” See id. Here,

 Kings Point POA has not even alleged that there is any conflict much less offered any evidence

 of one. And there is clearly an “identity of interest.” Even though only one of the three criteria

 must be satisfied, here all three are satisfied. First, it is beyond dispute that both Kings Point

 POA and SIA LLC are parties to the contested matter. Given that there is no conflict, the fact

 that both Kings Point POA and SIA LLC are parties is alone sufficient to satisfy the disjunctive

 Uniden criteria. Second, there is also clearly a “relationship of mutual concerns” given that SIA

 LLC transferred the common areas to Kings Point POA on a conditional basis. See Bankr.

 Docket Entry No. 1176-1 at 1-2 of 2 (cover letter stating that the quitclaim deed would be held in

 escrow pending a favorable ruling by the Court) & Bankr. Docket Entry No. 1176-2 at 1-4 of 4

 (quitclaim deed from SIA LLC to Kings Point POA). Third, it is remarkable that Kings Point

 POA does not concede that there has been “active cooperation in the litigation” when its counsel

 acknowledged at the hearing on its standing that there has been “lots of behind the scenes

 discussions” in terms of coordinating legal briefing and arguments between the parties. See Tr.

 Kings Point POA Standing Hr’g 18:11-19:11; see also id. at 41:89 & 13-17 (statement by

 counsel for SIA LLC: “That was in large part why we brought the motion. We weren’t

 interested in holding title to those common elements . . .. The expense has grown significant for

 everybody involved but we’re here and we would like for this property owners’ association to be

 on board in this matter. We have worked together up to this point and we would probably




 {4592/011/01360817.DOCXv2}                       16
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                     Page:17 of
                                      33

 continue to do that.”). Here, given the foregoing, the Uniden criteria have been satisfied as a

 matter of law.

 VI.    Kings Point POA’s Argument About the Application of Law to Facts Fails.

        Kings Point POA fails to respond to any of the cases the Liquidation Trustee cites in

 support of his argument that his requests for admission properly seek the application of law to

 fact. Compare Bankr. Docket Entry No. 1368 at 14-17 of 45 with Bankr. Docket Entry No. 1378

 at 13-15 of 19. And it neither disputes that the 1970 Advisory Committee Note to Rule 36

 makes it clear that requests for admission are proper as long as they do not seek “admissions of

 law unrelated to the facts of the case,” see Bankr. Docket Entry No. 1368 at 15 of 45, nor that, in

 the Eleventh Circuit, advisory committee notes are “accorded great weight in interpreting federal

 rules” and is “highly persuasive,” see Bankr. Docket Entry No. 1368 at 15 of 45. While Kings

 Point POA contends that “contractual interpretation . . . is undeniably a matter of law for the

 Court,” see Bankr. Docket Entry No. 1378 at 13 of 19, it fails to cite any authority holding that

 contract interpretation is inappropriate for requests for admissions, see Bankr. Docket Entry No.

 1378 at 13-14 of 19. In fact, the only decision that Kings Point POA cites in the paragraph

 starting with the word “first” on pages 13 through 14 involving Rule 36 is Tulip Computers

 International B.V. v. Dell Computer Corp., 210 F.R.D. 100 (D. Del. 2002).              And Tulip

 Computers involves patents and not contracts.          See 210 F.R.D. 100, 108.         But more

 problematically, that case relies on patent cases that do not involve Rule 36 to reach its result.

 See id. As to the following paragraph on page 14 starting with the word ‘indeed,” it is unclear

 what relevance parole evidence has to Rule 36(a) of the Federal Rules of Civil Procedure, and

 none of the cases cited in that paragraph involve requests to admit. As such, the Liquidation

 Trustee’s requests to admit involve a proper application of law to fact.



 {4592/011/01360817.DOCXv2}                      17
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                      Page:18 of
                                      33

 VII.    The Liquidation Trustee’s Challenge to Kings Point POA’s Objection to the Application
         of Law to Fact Requests to Admit Is Not Moot.

         Kings Point POA states in its opposition that it has “denied” the Liquidation Trustee’s

 requests to admit, which Kings Point POA contends seek a “pure issue of law,” and therefore,

 the Liquidation Trustee’s challenge to such objections is moot. See Bankr. Docket Entry No.

 1378 at p. 15. But when the Liquidation Trustee sought clarification and asked whether Kings

 Point POA “will revise its responses” to “reflect that it denies [them]—without objection,” see

 Exhibit “A,” Kings Point POA stated that it would not, but maintained that the matter was still

 moot, see Exhibit “B.” Thereafter, the Liquidation Trustee stated that it did make a practical

 difference for a number of reasons including the fact that Kings Point POA refused to respond to

 an interrogatory asking the basis for Kings Point POA’s response to RFA No. 16 because Kings

 Point POA had objected to the request to admit as a matter of law. See Exhibit “C.” Kings Point

 POA never responded to the Liquidation Trustee. Given Kings Point POA unwillingness to deny

 such requests and its unwillingness to respond to an interrogatory requesting the basis for its

 response to RFA No. 16, it is clear that the relief the Liquidation Trustee seeks is not moot.

 VIII.   Requests to Admit May Seek Admissions about “Central Facts in Dispute.”

         Kings Point POA is wrong when it argues on pages 15 and 16 that the Liquidation

 Trustee’s requests are impermissible because they “seek admissions as to central facts in

 dispute.” See Bankr. Docket Entry No. 1368 at 15-16 of 45. Before the 1970 amendments to

 Rule 36, there was a split of authority as to whether a request could seek “admissions relating to

 factual matters central to the dispute.” See Am. Nat’l Prop. and Cas. Co. v. Moore, Civ. Act. No.

 2:14-10320, 2015 WL 1565851, at *4 (S.D. W. Va. 2015). “The law changed, however, with the

 1970 amendment to Rule 36(a).” Id. After the addition of Rule 36(a)(5)—which makes it clear

 that a party cannot “object solely on the ground that the requests presents a genuine issue for

 {4592/011/01360817.DOCXv2}                      18
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                       Page:19 of
                                      33

 trial,” “it is irrelevant that a particular Request seeks admission of ‘ultimate facts’” because

 “Rule 36 does not except such facts from its requirements.” See Guinan v. A.I. duPont Hosp. for

 Children, Civ. Action No. 08-228, 2008 WL 938874, at *2 (E.D. Pa. 2008) (emphasis added);

 see also Moore, at *4 (discussing in detail the change in the law and concluding that “it is no

 longer a defense that a deemed admission cannot extend to central factual issues in a case”)

 (emphasis added).

        Indeed, numerous courts recognize that “ultimate facts” and “dispositive” issues fall

 squarely within the scope of Rule 36. See, e.g., Carney v. Internal Revenue Serv. (In re Carney),

 258 F.3d 415, 419 (5th Cir. 2001) (“Rule 36 allows litigants to request admissions as to a broad

 range of matters, including ultimate facts, as well as applications of law to fact.”) (emphasis

 added); In re Rail Freight Fuel Surcharge Antitrust Litig., 281 F.R.D. 1, 10 (D.D.C. 2011)

 (same); Hitachi Medical Systems America, Inc. v. Lubbock Open MRI, No. 5:09CV847, 2010

 WL 4643643, at *2 (N.D. Ohio 2010) (“Rule 36 allows parties, as part of discovery, to request

 admission of issues that are dispositive of the case.”); Edwards v. Sinetos (In re: Inteco Int’l

 Trade Corp.), Adv. No. 12-2137, 2014 WL 2754936, at *5 (Bankr. D.N.J. June 14, 2014) (“A

 litigant may request admissions on a “broad range of matters, including ultimate facts as well as

 application of law to facts.”) (emphasis added) (quoting Carney); In re Sweeten, 56 B.R. at 678

 (Bankr. E.D. Pa. 1986) (“Nor does it matter if the plaintiff seeks admissions on so-called

 ‘ultimate facts.’ . . . Indeed, the rule expressly states that a party may not refuse to respond to a

 request merely on the ground that the ‘matter for which an admission has been requested

 presents a genuine issue for trial.’”) (emphasis added) (citation omitted).

        Given that the 1970 amendments to Rule 36 of the Federal Rules of Civil Procedure

 changed the law in this regard, it is no coincidence that all of the cases Kings Point POA cites



 {4592/011/01360817.DOCXv2}                       19
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                          Page:20 of
                                      33

 that are on point predate such amendment to Rule 36. Whitaker v. Belt Concepts of Am., Inc. (In

 re Olympia Holding Corp.), 189 B.R. 846 (Bankr. M.D. 1995), the only post-1970 decision that

 is on point, is unpersuasive. First, it ignores the 1970 amendments to Rule 36 of the Federal

 Rules of Civil Procedure and the effect of Rule 36(a)(5) in particular.            Second, while it

 acknowledges that other courts have ruled otherwise, it makes no attempt to distinguish those

 cases.   Third, it relies on a case from the former Fifth Circuit, Pickens v. Equitable Life

 Assurance Soc’y., 413 F.2d 1390 (5th Cir. 1969), but given that it was decided before the 1970

 amendments to Rule 36, it is not persuasive. In fact, the Fifth Circuit in Carney did not even

 bother to distinguish Pickens. See 258 F.3d at 419. And the Southern District of West Virginia

 in Am. Nat’l Prop. cites Pickens as a decision reflecting pre-1970 case law. See 2015 WL

 1565851 at *4.

          Le v. Krepps (In re Krepps), 476 B.R. 646 (Bankr. S.D. Ga. 2012), obviously does not

 predate the 1970 amendments, but it does not advance Kings Point POA’s argument. Kings

 Point POA contends on page 16 that that the Bankruptcy Court for the Southern District of

 Georgia cites Olympia Holding with approval. Actually, the court quotes Dobrowski v. Kay Dee

 Congtractors, Inc., 2008 WL 2157061 (E.D. Mich. 2008) with approval and noted that the court

 in Dobrowski cited Olympia Holding. But the fundamental problem is that the court in Krepps

 quotes Dobrowski for the proposition that “requests for admissions should not be directed toward

 conclusions of law.” 476 B.R. at 649 (quoting Dobrowski, 2008 WL at *1) (citing Olympia

 Holding Corp.). So Krepps does not support Kings Point POA’s argument. In fact, Krepps

 refutes it. In that case, the debtor failed to respond to the trustee’s requests to admit.    See 476

 B.R. at 648. On that basis alone, the Bankruptcy Court for the Southern District of Georgia

 granted summary judgment to trustee. See 476 B.R. at 646. Therefore, by definition, the court



 {4592/011/01360817.DOCXv2}                       20
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                  Page:21 of
                                      33

 in Krepps rejected the argument that requests to admit may not “seek admissions as to central

 facts in dispute.” See id.

 IX.    Kings Point POA Ignores the Liquidation Trustee’s Challenge to Its Responses Set Forth
        in Appendix C.

        The Liquidation Trustee challenges Kings Point POA’s response to RFA Nos, 7, 73, and

 105 on the basis that they fail to “fairly meet the substance of the request.” See Bankr. Docket

 Entry No. 1368-3 at pp. 2-6 (citing House v. Giant of Md. LLC, 232 F.R.D. 257, 260 (E.D. Va.

 2005) (“If the responding party finds that wording of a request for admission imprecise, he

 should set forth a qualified answer that fairly meets the substance of the request.”) (emphasis

 added). For the Court’s convenience, the Liquidation Trustee first summarizes the challenges to

 the three responses—which are set forth more fully in Appendix C—and then addresses Kings

 Point POA’s response to the Liquidation Trustee’s challenge.

        RFA No. 7 is related to the Liquidation Trustee’s merger doctrine argument. Even

 though the language from sections 2.10(b) and (c) of the Asset Purchase Agreement—requiring

 the “delivery and acceptance of a real property deed”—mirrors the language from the standard

 for the doctrine of merger, see Rampura, LLC v. Main and 75 Ctr., LLC, No.

 CIVA1:06CV515CAP, 2008 WL 3861203, at *7 (N.D. Ga. Feb. 13, 2008) (“Georgia law on

 survival of terms and conditions is that those found in the sales contract do not survive the

 closing unless specifically reserved or unless they are not performed by delivery and acceptance

 of the deed.”) (emphasis added), Kings Point POA avoids responding to the request by denying

 the request “as stated” and responding in a way that dodges the issue, see Bankr. Docket Entry

 No. 1368-3 at p 2.

        RFA No. 73 is related to the Liquidation Trustee’s argument that Kings Point POA does

 not have standing under the Asset Purchase Agreement. Kings Point POA admits that the

 {4592/011/01360817.DOCXv2}                    21
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                   Page:22 of
                                      33

 “Debtors and the Liquidation Trustee were the only signatories to the Liquidation Trust

 Agreement.” Of course, it is obvious that they are signatories to the agreement. But Kings Point

 POA’s response impermissibly avoids the substance of the request, which is whether the Debtors

 and the Liquidation Trustee are the only parties to the Liquidation Trust Agreement. This issue

 is relevant because Kings Point POA argues that the Liquidation Trustee must transfer the Kings

 Point Common Elements to SIA LLC because of a recital in the Liquidation Trust Agreement

 even though neither SIA LLC nor Kings Point POA has standing under the agreement.

        RFA No. 105 is related to the dispute between the parties as to whether paragraph twelve

 of the Confirmation Order or section 5.04 of the Confirmed Plan governs what vests into the

 Liquidation Trust. Kings Point POA maintains that paragraph twelve of the Confirmation

 Order—and not section 5.04 of the Confirmed Plan—governs what vests into the Liquidation

 Trust. See Tr. Kings Point POA Standing Hr’g 21:18-22:19. The Liquidation Trustee maintains

 that such argument is unavailing given, among other things, that the Confirmation Order

 expressly provides the following: the “property of the Debtors as set forth in the Plan, shall be

 transferred to the Liquidation Trust in accordance with the provisions of the Plan.” See

 Confirmation Order at ¶ 14(iii) (emphasis added). By dodging the severability issue (Kings

 Point POA neither admits nor denies that the terms of the Plan “are an integral part of the

 Order”), Kings Point POA apparently is attempting to leave its options open to try to get around

 paragraph 14(iii) of the Confirmation Order. But paragraph one of the Confirmation Order is

 clear that the terms of the Plan “are an integral part of this Order.” See Confirmation Order at

 ¶ 1 (emphasis added). And the terms of paragraph one of the Confirmation Order are res

 judicata. See In re Greater Am. Land Res., Inc., 452 B.R. 532, 538 (Bankr. D.N.J. 2011) (“The




 {4592/011/01360817.DOCXv2}                     22
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                   Page:23 of
                                      33

 plan confirmation order is res judicata as to all issues decided or which could have been decided

 before confirmation occurs.”).

        In response to such challenges, Kings Point POA only states the following: “[T]he

 Trustee requests that Kings Point POA be forced to withdraw its objections to these requests and

 respond. Kings Point POA, however, did not object to these requests. Instead, Kings Point POA

 denied these requests ‘as stated’ and then continued to admit a portion of the request. Such a

 response is clearly allowed by Rule 36.” See Bankr. Docket Entry No. 1368 at p. 17. The

 foregoing obviously does not respond in any meaningful way to the Liquidation Trustee’s

 challenges. Accordingly, Kings Point POA should amend its responses to “fairly meet the

 substance of the requests.” House, 232 F.R.D. at 260.




                              [remainder of page intentionally left blank]




 {4592/011/01360817.DOCXv2}                       23
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                  Page:24 of
                                      33

                                      CONCLUSION

        For the foregoing reasons, the Liquidation Trustee requests that the Court grant the

 Motion.

 Dated: September 28, 2015



                                                  /s/ Robert M.D. Mercer
                                           Robert M.D. Mercer
                                           Georgia Bar No. 502317
                                           SCHULTEN WARD & TURNER LLP
                                           260 Peachtree Street
                                           Suite 2700
                                           Atlanta, Georgia 30303
                                           (404) 688-6800 Telephone
                                           (404) 688-6840 Facsimile

                                           Counsel for Robert H. Barnett as the
                                           Liquidation Trustee under the Sea Island
                                           Company Liquidation Trust




 {4592/011/01360817.DOCXv2}                  24
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21   Page:25 of
                                      33




                              EXHIBIT “A”




 {4592/011/01360817.DOCXv2}
    Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                           Page:26 of
                                          33
Good, Sarah

From:                              Mercer, Robert
Sent:                              Tuesday, September 08, 2015 6:30 PM
To:                                jtate@robertstate.com
Cc:                                Robert H. Barnett; 'Walker, Thomas R.'; Good, Sarah
Subject:                           sic


Jason, based on my review of your September 4 letter, I understood you to offer to amend the responses of
Kings Point Property Owners Association, Inc. (“Kings Point POA”) to the Liquidation Trustee’s first requests
for admissions to conform to your September 4 letter and Kings Point POA’s opposition. See Bankr. Docket
No. 1378 at p. 16. To make sure we are on the same page, I wanted to ask you about 2 items.


        1.      Is Kings Point POA stating that it will revise its responses to the Liquidation Trustee’s first set of
requests to admit to reflect that it denies—without objection—the following requests to admit: RFA’s 2-3, 6, 10,
16, 70, 72, 74, 74, 84-86, 106, 111, 113, 116-17, 119-120, 124, and 126, and 127 (collectively, the “Application
of Law to Fact RFAs”)?

         2.      Does Kings Point POA contend that its letter amends the responses to the Liquidation Trustee’s
first set of requests beyond the Application of Law to Fact RFAs? If so, would you formally amend such
responses?

Thank you for your attention to these matter. rm


                       Robert Mercer
                       Partner
                       robert.mercer@bryancave.com T: +1 404 572 6976 M: +1 678 628 7439




                                                                 1
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21   Page:27 of
                                      33




                              EXHIBIT “B”




 {4592/011/01360817.DOCXv2}
    Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                                                           Page:28 of
                                          33
Good, Sarah

From:                                       Jason Tate <jtate@robertstate.com>
Sent:                                       Wednesday, September 09, 2015 6:04 PM
To:                                         Mercer, Robert
Cc:                                         Robert H. Barnett; 'Walker, Thomas R.'; Good, Sarah
Subject:                                    RE: sic


R obert:

Inresponsetoyourem ail:

     1. N o. KP P O A isstatingthatitbelievesthatitsobjectionsareproper,butthatitisirrelevantbecauseKP P O A has
        denied therequestsregardlessand statedthatitw ould havedenied therequestsnotw ithstandingthe
        objections. Inotherw ords,thereisnoreliefthattheL T canbeafforded becausestrikingtheobjectionsw ould
        only resultinKP P O A denyingtherequests,w hichithasalready done.
     2. Yes,butnotform ally. P leaseseethelastparagraphoftheletter:“ P leaseletusknow ifKP P O A needstofilea
        form alsupplem entationw ithrespecttotheresponsesthatithasam ended.” Asstated,KP P O A ishappy to
        form ally am end itsresponsesiftheL T w ould likeitto.

Jason M. Tate
Roberts | Tate LLC
P.O. Box 21828
114 Island Professional Park
St. Simons Island, Georgia 31522
Phone: (912) 638-5200
Fax: (912) 638-5300
Jtate@robertstate.com
www.RobertsTate.com

IRS CIRCU LAR 230N O TICE:To e nsure c om plia nc e wit         h re quire m e ntsim pose d b ythe IRS,we inform yout          ha ta nyU .S.
ta xa d vice c onta ine d in t
                             hisc om m unica t ion (orin a nya t tac hm e nt ) isnotint e nd e d orwritten to b e use d ,a nd c a nnotb e
use d ,fort  he purpose of (i) a void ing pe na ltie sund e rt
                                                             he Int  e rna lRe ve nue Cod e or(ii) prom ot  ing ,m a rke ting or
re c om m e nd ing t o a nothe rpa rt
                                    ya nyt ra nsa c tion orm a t
                                                               te ra d d re sse d in t
                                                                                     hisc om m unica tion (orin a nya tt  a c hm e nt).

CO N FIDEN TIALITY N O TICE:Thise le c t                ronic m a ilt   ra nsm ission m a yha ve b e e n se ntb yoron b e ha lf of a la wye r.Itm a y
c ont a in inform a t   ion t  ha tisc onfid e nt ia l,privile g e d ,proprie t a ry,orot  he rwise le g a llye xe m ptfrom d isc losure .If youa re
nott  he int   e nd e d re c ipie nt ,youa re he re b ynot   ifie d t ha tyoua re nota uthorize d t     o re a d ,print
                                                                                                                      ,re t a in,copyord isse m ina t    e
thism e ssa g e ,a nypa rtof it       ,ora nya t  tac hm e nts.If youha ve re c e ive d t   hism e ssa g e in e rror,ple a se d e le tethism e ssa g e a nd
a nya t  tac hm e nt  sfrom yoursyst       e m wit   houtre a d ing the c ont    e nta nd not ifythe se nd e rim m e d ia te lyof t  he ina d ve rt
                                                                                                                                                  e nt
tra nsm ission.The re isno int         e nton t  he pa rtof t  he se nd e rt  o wa ive a nyprivile g e ,inc lud ing t he a t torne y-clie ntprivile g e ,
tha tm a ya t    tac h tot  hisc om m unica t   ion.
N O TICE:N o d ut        ie sa re a ssum e d ,int e nd e d ,orc re a te d b ythisc om m unica t  ion.If youha ve note xe c ut      e d a fe e c ont
                                                                                                                                                  ra c tor
a n e ng a g e m e ntle t  te r,t hisfirm d oe snotre pre se ntyoua syoura t          torne y.Youa re e nc oura g e d t o re t a in c ounse lof your
c hoice if youd e sire t       o d o so.


From :M ercer,R obert[m ailto:R obert.M ercer@ BryanCave.com ]
S ent:T uesday,S eptem ber8,2015 6:30 P M
T o:JasonT ate<jtate@ robertstate.com >
Cc:R obertH.Barnett<rbarnett@ conw aym ackenzie.com >;'W alker,T hom asR .'<T rw alker@ m cguirew oods.com >;Good,

                                                                             1
      Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                              Page:29 of
S arah<sarah.good@ bryancave.com >          33
S ubject:sic

Jason, based on my review of your September 4 letter, I understood you to offer to amend the responses of
Kings Point Property Owners Association, Inc. (“Kings Point POA”) to the Liquidation Trustee’s first requests
for admissions to conform to your September 4 letter and Kings Point POA’s opposition. See Bankr. Docket
No. 1378 at p. 16. To make sure we are on the same page, I wanted to ask you about 2 items.


        1.      Is Kings Point POA stating that it will revise its responses to the Liquidation Trustee’s first set of
requests to admit to reflect that it denies—without objection—the following requests to admit: RFA’s 2-3, 6, 10,
16, 70, 72, 74, 74, 84-86, 106, 111, 113, 116-17, 119-120, 124, and 126, and 127 (collectively, the “Application
of Law to Fact RFAs”)?

         2.      Does Kings Point POA contend that its letter amends the responses to the Liquidation Trustee’s
first set of requests beyond the Application of Law to Fact RFAs? If so, would you formally amend such
responses?

Thank you for your attention to these matter. rm


                        Robert Mercer
                        Partner
                        robert.mercer@bryancave.com T: +1 404 572 6976 M: +1 678 628 7439




This electronic message is from a law firm. It may contain confidential or privileged information. If you received this
transmission in error, please reply to the sender to advise of the error and delete this transmission and any attachments.
bcllp2015




                                                                  2
Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21   Page:30 of
                                      33




                              EXHIBIT “C”




 {4592/011/01360817.DOCXv2}
    Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21                         Page:31 of
                                          33
Good, Sarah

From:                              Mercer, Robert
Sent:                              Wednesday, September 09, 2015 7:26 PM
To:                                jtate@robertstate.com
Cc:                                Robert H. Barnett; 'Walker, Thomas R.'; Good, Sarah
Subject:                           RE: sic


Jason, thanks for your email. I will respond to your numbered points below.

        1.     Based on your response, the LT’s motion as to those requests to admit is not moot for at least 2
practical reasons.

       First, if the LT proves the matters that Kings Point POA has denied, he is entitled to fee shifting. If
Kings Point POA is still asserting objections, it will take the position that fee shifting does not apply.

        Second, assuming the parties cannot come to an agreement on stipulations (for purposes of
discussion, I will assume they won’t), the LT intends to depose Kings Point POA’s 30(b)(6) rep as to the basis
for, among other things, its denials of the various requests to admit. He may also serve supplemental
interrogatories requesting the basis for the denials. To see why this is a concern for the LT, please compare
Kings Point POA’s interrogatory responses 12 (where Kings Point POA explains the basis for the denial of RFA
78) and interrogatory response 16 (where Kings Point POA refuses to explain for its response to RFA 16 by
stating that it objected to RFA 16 as a “matter of law” and that basis for its response would invade privilege).
Indeed, as addressed in the LT’s motion, this is the very reason that courts do not allow parties to raise
“conditional objections.”

         2.      Yes, the LT would like Kings Point POA to formally amend its responses to the RFA’s. I think
this will be helpful because that way everyone will know what positions Kings Point POA is taking. When do
you think that you can get us the formal amendment? I am asking because we have a limited amount of time
to prepare a reply and would like some time to look at any amendments to the responses before filing the
reply.

Thank you for your attention to these matters. rm


                       Robert Mercer
                       Partner
                       robert.mercer@bryancave.com T: +1 404 572 6976 M: +1 678 628 7439




From: Jason Tate [mailto:jtate@robertstate.com]
Sent: Wednesday, September 09, 2015 6:04 PM
To: Mercer, Robert
Cc: Robert H. Barnett; 'Walker, Thomas R.'; Good, Sarah
Subject: RE: sic

Robert:

In response to your email:



                                                                 1
         Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21 Page:32 of
    1.    No. KPPOA is stating that it believes that its objections
                                                               33 are proper, but that it is irrelevant because KPPOA has
       denied the requests regardless and stated that it would have denied the requests notwithstanding the
       objections. In other words, there is no relief that the LT can be afforded because striking the objections would
       only result in KPPOA denying the requests, which it has already done.
    2. Yes, but not formally. Please see the last paragraph of the letter: “Please let us know if KPPOA needs to file a
       formal supplementation with respect to the responses that it has amended.” As stated, KPPOA is happy to
       formally amend its responses if the LT would like it to.

Jason M. Tate
Roberts | Tate LLC
P.O. Box 21828
114 Island Professional Park
St. Simons Island, Georgia 31522
Phone: (912) 638-5200
Fax: (912) 638-5300
Jtate@robertstate.com
www.RobertsTate.com

IRS CIRCULAR 230 NOTICE: To ensure compliance with requirements imposed by the IRS, we inform you that any U.S.
tax advice contained in this communication (or in any attachment) is not intended or written to be used, and cannot be
used, for the purpose of (i) avoiding penalties under the Internal Revenue Code or (ii) promoting, marketing or
recommending to another party any transaction or matter addressed in this communication (or in any attachment).

CONFIDENTIALITY NOTICE: This electronic mail transmission may have been sent by or on behalf of a lawyer. It may
contain information that is confidential, privileged, proprietary, or otherwise legally exempt from disclosure. If you are
not the intended recipient, you are hereby notified that you are not authorized to read, print, retain, copy or disseminate
this message, any part of it, or any attachments. If you have received this message in error, please delete this message and
any attachments from your system without reading the content and notify the sender immediately of the inadvertent
transmission. There is no intent on the part of the sender to waive any privilege, including the attorney-client privilege,
that may attach to this communication.
NOTICE: No duties are assumed, intended, or created by this communication. If you have not executed a fee contract or
an engagement letter, this firm does not represent you as your attorney. You are encouraged to retain counsel of your
choice if you desire to do so.


From: Mercer, Robert [mailto:Robert.Mercer@BryanCave.com]
Sent: Tuesday, September 8, 2015 6:30 PM
To: Jason Tate <jtate@robertstate.com>
Cc: Robert H. Barnett <rbarnett@conwaymackenzie.com>; 'Walker, Thomas R.' <Trwalker@mcguirewoods.com>; Good,
Sarah <sarah.good@bryancave.com>
Subject: sic

Jason, based on my review of your September 4 letter, I understood you to offer to amend the responses of
Kings Point Property Owners Association, Inc. (“Kings Point POA”) to the Liquidation Trustee’s first requests
for admissions to conform to your September 4 letter and Kings Point POA’s opposition. See Bankr. Docket
No. 1378 at p. 16. To make sure we are on the same page, I wanted to ask you about 2 items.


        1.      Is Kings Point POA stating that it will revise its responses to the Liquidation Trustee’s first set of
requests to admit to reflect that it denies—without objection—the following requests to admit: RFA’s 2-3, 6, 10,
16, 70, 72, 74, 74, 84-86, 106, 111, 113, 116-17, 119-120, 124, and 126, and 127 (collectively, the “Application
of Law to Fact RFAs”)?



                                                              2
      Case:10-21034-EJC Doc#:1388 Filed:09/28/15 Entered:09/28/15 22:55:21 Page:33 of
       2.    Does Kings Point POA contend that its letter
                                                   33 amends the responses to the Liquidation Trustee’s
first set of requests beyond the Application of Law to Fact RFAs? If so, would you formally amend such
responses?

Thank you for your attention to these matter. rm


                        Robert Mercer
                        Partner
                        robert.mercer@bryancave.com T: +1 404 572 6976 M: +1 678 628 7439




This electronic message is from a law firm. It may contain confidential or privileged information. If you received this
transmission in error, please reply to the sender to advise of the error and delete this transmission and any attachments.
bcllp2015




                                                                  3
